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             CW IL DOCKET FOR CASE #:1:23-1-00038-,   1E8 WSEAT,ED*
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    G RA N D JURY SU BPOEN A (0 42-17 and G J42-69     DateFiled:06/15/2023
    A ssigned to:ChiefJudge Jam esE.Boasberg
    Cause:CivilM iscellaùeousCase
    In R e
    G RA N D JUR Y SU BPO EN A
    G J42-17 and G J42-69
    Interested Party
    UN ITED STA TES O F A M ER ICA       represented by C ecilW oods V anD evender
                                                        D OJ-U SA O
                                                        SpecialCounsel'sOffice
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                                                       Jam esPearce
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                                                       Departm entofJustice,Cyim inal
                                                       D ivision
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                                                       W ashington,D C 20530
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                                                       Fax:(202)305-2121
                                                       Email:james.pearce@ usdoj.gov
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                                                       John Pellettieri
                                                       SpecialCounsel'sOftk e
                                                       950 Pennsylvania Avenue N W
                                                       Rm .8 -206
Case 9:23-cr-80101-AMC Document 116-1 Entered on FLSD Docket 08/11/2023 Page 3 of 5




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                                                                  Email:jmp@ usdoj.gov
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                                                                  W TTOWN .E'F FO BE N O TICED
     Interested Partv
     D O NA LD Z TR UM P                            represented by Stanley Edm und W oodw ard ,Jr.
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                                                                   Fax:202-996-0113
                                                                   Em ail:
                                                                  startley@brandwoodwardlaw.com
                                                                  fEAD ATTORNEY
                                                                  A TTORNEY TO BE N OTICED
     lnterested Partv
     W A LTIN E N A UTA                             represented by Stanley Edm und W oodw ard ,Jr.
                                                                  (Seeaboveforaddress)
                                                                  LEAD W FFOA NF .
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     D ate Filed        #        D ocketText
     08/11/2023              . M INUTE ORDER:Given theGovernment's8RESPONSE.

                                 re .yM OTION forDisclosure,the Courtwil
                                                                       lGRANT j.M otionfor
                                 Disclosureasunopposed.TheCourtORDERS copiesofgovernment's
                                 August7,2024 ex parte m otion asw ellas a copy ofthe docketsheet
                                 in these m attersto both defense counsel,counselforform erPresident
                                 Trump,and Judge Cnnnon.Signed by ChiefJudgeJam esE.Boasberg
                                 on8/11/20i3.Cotmselhasbeennotifiedelectronically.tznbn)
 ;                             (CF1tGCd:08/11/2023)
 r
 I 08/11/2023               =Q RESPONSE rej M OTION forDisclosurefiledbyUNITED STATES
                                                .



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 l
                                 OFAMERICA.(zstd)(Entered:08/11/2023)
 j 08/11/2023               . M INUTZ ORDER:TheCourtORDERSthatthe Governm entshall
 l
 !                            respond to DefendantN auta'sî.MotionforDisclostlrebyAugust14,
                                                              .


 j                               2023..SoORDERED,byChiefJudgeJamesE.Boasbergon
 :                               8/11/2023.Counselhasbeennotifiedelectronically.tznbn)(Entered:
 1
 .                               08/11/2023)
                        J                                                       '/
     08/11/2023             5 M OTION forDisclosurebyW ALTINE NAUTA.(zstd)(Entered:
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                                 08/11/2023)
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    Case 9:23-cr-80101-AMC Document 116-1 Entered
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                                                  on FLSD Docket 08/11/2023 Page 4 of 5
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      1 08/08/2023                (ExParte)ORDER GRANTFNG .
                                                          (.M OTION forOrderAuthorizing
                          J Disclosure.Signed by ClliefJudge Jam esE.Boasberg on 8/8/2023.
                             Counselhasbeennotifiedelectronically.tznbn)(Entered:08/08/2023)
             08/07/2023      (ExParte)M OTION forOrderAuthorizingDisclosurebyUNITED
                           6 STATESOF AM ERICA.(Attachments:#1A-SealedOrder,#.
                          r.                                                           ;Text
                             ofProposedOrderAuthorizingDisclostlreltzstd)(Entered:
                             08/08/2023)
             06/27/2023       . M INUTE ORDER GRANTIN G j M otion forAdmission ProHac
                                                                  .

                                  Vice ofTodd Blanche.C ounselshould register for e-filing via
                                  PA CER and file a notice ofappearancepursuantto L CVR
                                  83.6(a).Click forinstructions.SoORDERED byChiefJudgeJames
                                  E .Boasberg on 6/27/2023.Cotm selhasbeen notified
                                electronically.tlcjebz)(Entered:06/27/2023)
             06/27/2023         tcourtonly)M otionts)tenuinated:IM OTION forDisclosuretiledby
                              -
                                DONALD J.TRUMP.(znbn)(Entered:06/27/2023)
'            06/27/2023       - M INUTE ORDER:lnresponsetotheparties'é JointStatusReport,
                                theCourtORDERSthattheAmendedlM otion forDisclosureis
                                  DENIED W ITHOUT PREJUDICE asm oot.So ORDERED,by Chief
i    ;                            JudgeJam esE. Boasberg on 6/27/2023.Cotmselhasbeen notified
     '                            electronically.tznbn)(Entered:06/27/2023)
     1
     .       06/26/2023   J. M OTION forLeaveto AppearPro HacVice :Attorlley Nam e-Todd
                                  Blanche,byDONALD J.TRUM P.(Attachments:#lDeclaration of
                                  ToddBlanche,#î CertificateofGoodStanding,#.
                                                                            7.TextofProposed
i                                 Orderltzstd)(Entered:06/27/2023)
             06/21/2023   x1 A M EN DED M OTION forD isclosure ofGrand Jury M aterials by
                              -


                                  DONALD J.TRUM P.(zstd)(Entered:06/27/2023)
             06/20/2023   r4 JOINT STATU S REPORT by UNITED STATES OF AM ERICA.
                          .


                             (zstd)(Entered:06/27/2023)
     ' 06/16/2023         rà M emorandum in opposition to relAmended M otion forDisclosure of
                          .

                                  Grand Jury M aterials filed by UN ITED STA TES O F A M ERICA .
     :                          (zstd)(Entered:06/27/2023)
     I 06/15/2023             . MINIJTE ORDER :In lightoftherecentindictmentofformer
     )                            presidentTnzm p,the courtolto Ea s thattheparties shallfile a Joint
     !                            Stam sReportby Jtme20,2023,indicating whetherthatdevelopm ent
     '                            changeseitherside'sposition on theM otion.So ORDERED,by Chief
     E                            JudgeJamesE. Boasberg on 6/15/2023.Cotm selhasbeen notified
                             electronically.tznbn)(Entered:06/27/2023)
             06/15/2023   .7 (ExParte)M emorandum in oppositigntore1 AmehdedM otionfor
                          2 DisclosureofGrand Jury M aterialsfiledby UNITED STATES OF
                          .

             I                    AM ERICA.(Attachments:#lExhibitA-W oodwardLetter,
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    Case 9:23-cr-80101-AMC Document 116-1 Entered on FLSD Docket 08/11/2023 Page 5 of 5




                           #îExhibitB-JudicialNominationCommission W ebpageltzstd)
                           (Entered:06/27/2023)




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